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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 09-cv-1796-REB-MEH

  ESTATE OF ANTHONY L. SIMS, By Kathie Sims as Personal Representative,

         Plaintiff,

  v.

  SHERIFF TED MINK, in his individual and official capacities, and
  JOHN DOE SHERIFF’S DEPUTY, in his individual and official capacities,

         Defendants.


                      STIPULATED MOTION TO DISMISS WITH PREJUDICE


         Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, Plaintiff Estate of

  Anthony L. Sims, by Kathie Sims as Personal Representative, and Defendant Sheriff

  Ted Mink, through their undersigned counsel, hereby stipulate that the above-captioned

  action be dismissed with prejudice, each party to pay its own costs and attorney fees. As

  grounds for this Stipulated Dismissal, the parties submit to the Court that the entire matter

  between them has been fully compromised and settled, and there remains no issues for

  judicial determination.

         WHEREFORE, Plaintiff and Defendant request that the Court enter an Order

  dismissing the above-captioned action in its entirety, with prejudice, each party to bear its

  own costs and attorney fees.

         Respectfully submitted this 3rd day of March, 2010.
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  ELLEN G. WAKEMAN                              KILLMER LANE & NEWMAN, LLP
  JEFFERSON COUNTY ATTORNEY

         s/ Writer Mott                                s/ Sara Rich
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